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7                        UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
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     ANTONIO V.,                                  Case No. 2:20-CV-09333 (VEB)
10
                           Plaintiff,             JUDGMENT
11
     vs.
12
     KILOLO KIJAKAZI, Acting
13   Commissioner of Social Security,

14                         Defendant.

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           For the reasons set forth in the accompanying Decision and Order, it is hereby
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     ADJUDGED AND DECREED THAT (1) Plaintiff’s request for an order remanding
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     the case for further proceedings is DENIED; (2) the Commissioner’s request for an
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     order affirming the Commissioner’s final decision and dismissing the action is
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                  JUDGMENT – ANTONIO V. v KIJAKAZI 2:20-CV-09333-VEB
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1    GRANTED; (3) judgment is entered in the Commissioner’s favor; and (4) the Clerk

2    of the Court shall CLOSE this case.

3          DATED this 30h day of November 2021,

4                                       /s/Victor E. Bianchini
                                        VICTOR E. BIANCHINI
5                                   UNITED STATES MAGISTRATE JUDGE

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                  JUDGMENT – ANTONIO V. v KIJAKAZI 2:20-CV-09333-VEB
